          Case 4:15-cr-06010-EFS           ECF No. 200         filed 03/21/17     PageID.558 Page 1 of 2
O PS 8
(3/15)
                                                                                                           FILED IN THE
                                                                                                       U.S. DISTRICT COURT

                              UNITED STATES DISTRICT COURT                                       EASTERN DISTRICT OF WASHINGTON




                                                             for                                  Mar 21, 2017
                                                                                                      SEAN F. MCAVOY, CLERK
                                            Eastern District of Washington


U.S.A. vs.                     Carmona, Eduardo                          Docket No.           0980 4:15CR06010-002


                                 Petition for Action on Conditions of Pretrial Release

        COMES NOW Curtis G. Hare, PRETRIAL SERVICES OFFICER presenting an official report upon the conduct
of defendant Eduardo Carmona, who was placed under pretrial release supervision by the Honorable U.S. Magistrate Judge
John T. Rodgers sitting in the court at Spokane, Washington, on the 15th day of January 2016, under the following
conditions:

Condition #1: Defendant shall not commit any offense in violation of federal, state or local law. Defendant shall advise
the supervising Pretrial Services Officer and defense counsel within one business day of any charge, arrest, or contact with
law enforcement. Defendant shall not work for the United States government or any federal or state law enforcement agency,
unless Defendant first notifies the supervising Pretrial Services Officer in the captioned matter.

         RESPECTFULLY PRESENTING PETITION FOR ACTION OF COURT FOR CAUSE AS FOLLOWS:
                      (If short insert here; if lengthy write on separate sheet and attach.)

Violation #1: On March 8, 2017, Eduardo Carmona was arrested and charged with identity theft, 1st degree, Adams County
Superior Court, docket number 17-1-00038-8.


                             PRAYING THAT THE COURT WILL ISSUE A WARRANT

                                                                          I declare under the penalty of perjury
                                                                          that the foregoing is true and correct.
                                                                          Executed on:       March 21, 2017
                                                                   by     s/Curtis G. Hare
                                                                          Curtis G. Hare
                                                                          U.S. Pretrial Services Officer
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  Re: Carmona, Eduardo
  September 6, 2016
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THE COURT ORDERS

[ ]      No Action
[ X]     The Issuance of a Warrant
[ ]      The Issuance of a Summons
[ ]      The incorporation of the violation(s) contained in this
         petition with the other violations pending before the
         Court.
[ ]      Defendant to appear before the Judge assigned to the case.
                                                                 e.
[ ]      Defendant to appear before the Magistrate Judge.
[ ]      Other


                                                                      Signature of Judicial Officer

                                                                             March 21, 2017
                                                                      Date
